        Case 3:19-cv-00163-LCB Document 24 Filed 06/13/19 Page 1 of 1                     FILED
                                                                                 2019 Jun-13 PM 01:05
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                           NORTHWESTERN DIVISION
CANAL INDEMNITY COMPANY,                  )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )   Case No.: 3:19-cv-163-LCB
                                          )
WILSON PROPERTIES, INC., et al.,          )
                                          )
      Defendants.                         )

                                         ORDER

      Plaintiff has filed a notice of dismissal (doc. 23), stating that it voluntarily

dismisses this action with prejudice.

      Accordingly,

      IT IS ORDERED that this action is DISMISSED WITH PREJUDICE.

Costs taxed as paid.



      DONE and ORDERED June 13, 2019.



                                    _________________________________
                                    LILES C. BURKE
                                    UNITED STATES DISTRICT JUDGE
